938 F.2d 179
    UNITED STATES of America, Plaintiff-Appellee,v.Edwin ELGERSMA, Defendant-Appellant.
    Nos. 89-3926, 89-3934.
    United States Court of Appeals,Eleventh Circuit.
    July 24, 1991.
    
      Lawrence E. Besser, Miami, Fla., for defendant-appellant.
      Joseph K. Ruddy, Patricia A. Kerwin, Asst. U.S. Attys., Tampa Fla., for plaintiff-appellant.
      On Appeal from the United States District Court for the Middle District of Florida;  William J. Castagna, Judge.
      ON PETITION FOR REHEARING AND SUGGESTION FOR REHEARING EN BANC
      (Opinion April 29, 1991, 11th Cir., 1991, 929 F.2d 1538)
      Before TJOFLAT, Chief Judge, FAY, KRAVITCH, JOHNSON, HATCHETT, ANDERSON, CLARK, EDMONDSON, COX, BIRCH and DUBINA, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of this court in active service having requested a poll on the application for rehearing en banc and a majority of the judges in this court in active service having voted in favor of granting a rehearing en banc,
    
    
      2
      IT IS ORDERED that the above cause shall be reheard by this court en banc.  The previous panel's opinion is hereby VACATED.
    
    